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                   UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
  _______________________________________________________________________
  IN RE:
        ARNOLD R. DORMER, JR.                    Case No. 11-27934-PJD

             Debtor.                             Chapter 11
  _______________________________________________________________________

               THIRD AMENDED PLAN OF REORGANIZATION
  _______________________________________________________________________

         COMES NOW the Debtor-in-possession, and proposes the following Third

  Amended Plan of Reorganization pursuant to Chapter 11 of the United States

  Bankruptcy Code. This Amended Plan incorporates Plan treatment mandated in multiple

  Agreed Orders resolving Objections to Confirmation and also reflects the post-petition

  release of liens in Classes 8 and 9. To the extent that the the provisions of this Amended

  Plan differ from the terms of previously entered Agreed Orders on Objection to

  Confirmation, the provisions in the Agreed Orders shall control and take precedence.

                                         ARTICLE 1.

                                       DEFINITIONS

         The terms set forth in this Article 1 shall have the respective meanings hereinafter

  set forth. Any capitalized term used but not otherwise defined herein shall have the

  meaning given to that term in the Bankruptcy Code.

         1.1    Administrative Claim: shall mean any cost or expense of administration

  of the Debtor's Chapter 11 case entitled to priority in accordance with sections 503(b)

  and 507(a)(1) of the Bankruptcy Code, including any fees or charges assessed against the

  Debtor's estate under 28 U.S.C. Section 1930.
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         1.2     Allowed Amount: shall mean the amount of a Claim that is listed in the

  Debtor's schedules as not disputed, contingent, or unliquidated:

                 1.2.1   if the holder of such Claim has not filed a proof of claim by the

  Bar Date; or

                 1.2.2   if a holder has filed a timely proof of claim:

                         1.2.1   the amount stated in such Claim; or

                         1.2.2   if an objection to such Claim is filed, such amount as shall

  be fixed by Final Order of the Bankruptcy Court.

         1.3     Bar Date: shall include for creditors other than governmental units, or

  for governmental units.

         1.4     Code: shall mean the United States Bankruptcy Code under Title 11 of

  the United States Code.

         1.4     Confirmation Date: shall mean the date of entry of the Order Confirming

  Plan; provided, however, that if said Order is stayed pending appeal, then the

  Confirmation Date shall be the date of entry of the Final Order vacating such stay or the

  date on which the stay expires or is no longer in effect.

         1.6     Debtor: shall mean as Debtor-in-possession and as the reorganized

  Debtor.

         1.7     Disputed Claim: shall mean any claims to which a proof of claim has

  been filed or deemed filed under applicable law, as to which an objection has been or

  may be timely filed by Debtor and which objection, if timely filed, has not been

  withdrawn on or before any dated fixed for filing such objections by the Plan or Order of

  the Court and which has not been overruled or denied by a final Order of the Court.




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  Prior to the time that an objection has been or may be timely filed, for the purposes of

  the Plan, a Claim shall be considered a Disputed Claim in its entirety if: (i) the amount of

  the Claim specified in the proof of claim exceeds the amount of any corresponding claim

  as listed in the Debtor’s Schedules; (ii) any corresponding scheduled claim has been

  scheduled as disputed, contingent, or unliquidated; or (iii) no corresponding claim has

  been scheduled.

         1.8    Effective Date: shall mean the first business day following forty-five (45)

  days after the Confirmation Order becomes a Final Order.

         1.9    Plan: shall mean this Plan proposed by the Debtor, or as it may be

  amended or modified.



                                         ARTICLE 2.

                     OBJECTION AND EXECUTION OF THE PLAN

         2.1    Objective of the Plan. The primary objective of the Plan is to pay valid

  claims of the Debtor while preserving the value of the Debtor's business.

         2.2    Execution of the Plan. The Plan will be carried out and funded by future

  rents and income generated by the Debtor. The Debtor may also sell property in order to

  pay general unsecured creditors.



                                         ARTICLE 3.

               CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

         3.2    The claims of creditors shall be classified as follows:

                Class 1 shall consist of Administrative Claims.




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                Class 2 shall consist of Claims of governmental entities entitled to priority

        by §§ 507(a)(8) of the Code as finally allowed by the court, including but not

        limited to the claim of the Internal Revenue Service in the amount of $3,500.

                Class 3 shall consist of the property tax claims of the City of Memphis.

                Class 4 shall consist of the property tax claims of Shelby County.

                Classes 5 through 156 shall consist of the claims of mortgage lenders to

        the extent secured by deeds of trust on real property located in Memphis, Shelby

        County, Tennessee, set out in the following Table as follows:



  Class Creditor                                  Collateral Description

  5     AHMSI                                     4037 Knob
  6     AHMSI                                     2512 LaBonte
  7     AHMSI                                     4056 Mountain Terrace
  8     AHMSI                                     4060 Mountain Terrace
  9     AHMSI                                     4084 Mountain Terrace
  10    AHMSI                                     5979 Prairie Cv
  11    AHMSI                                     5957 Wagon Hill Rd E
  12    AHMSI                                     5958 Wagon Hill Rd E
  13    AHMSI                                     5962 Wagon Hill Rd E
  14    AHMSI                                     5964 Wagon Hill Rd E
  15    AHMSI                                     5998 Wagon Hill Rd E

  16    America's Servicing Co.                   4135 Mountain Terrace
  17    Bank of America                           4049 Knob
  18    America's Servicing Co.                   4436 Suncrest
  19    America's Servicing Co.                   5944 Wagon Hill Rd E
  20    America's Servicing Co.                   5984 Wagon Hill Rd E
  21    America's Servicing Co.                   5992 Wagon Hill Rd E
  22    America's Servicing Co.                   4193 Wagon Wheel Dr
  23    America's Servicing Co.                   4233 Wagon Wheel Dr
  24    America's Servicing Co.                   2498 Wellons


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  25   Aurora Loan Services               1762 Corning
  26   Aurora Loan Services               4146 Mountain Terrace
  27   Aurora Loan Services               4155 Mountain Terrace
  28   Aurora Loan Services               4156 Mountain Terrace
  29   Aurora Loan Services               4175 Mountain Terrace
  30   Aurora Loan Services               1855 Whitney Ave.
  31   Banco Popular North America        4132 Mountain Terrace

  32   Bancorp South Mortgage             885 Bingham
  33   Bancorp South Mortgage             4551 Cedargreen Cv
  34   Bancorp South Mortgage             4549 Cedar Leaf Cv
  35   Bancorp South Mortgage             4550 Cedar Leaf Cv
  36   Bancorp South Mortgage             4558 Cedar Leaf Cv
  37   Bancorp South Mortgage             3356 Farmville
  38   Bancorp South Mortgage             3370 Farmville
  39   Bancorp South Mortgage             4070 Knob
  40   Bancorp South Mortgage             4545 Longtree
  41   Bancorp South Mortgage             4549 Longtree
  42   Bancorp South Mortgage             4555 Longtree
  43   Bancorp South Mortgage             4561 Longtree
  44   Bancorp South Mortgage             4567 Longtree
  45   [Reserved]
  46   Bancorp South Mortgage             1730 Marble
  47   Bancorp South Mortgage             214 Merton
  48   [Reserved]
  49   Bancorp South Mortgage             3073 Pershing
  50   Bancorp South Mortgage             2529 Selman
  51   Bancorp South Mortgage             3637 Townes

  52   Bank Of America                    4555 Cedar Leaf Cv
  53   Bank Of America                    4556 Cedar Leaf Cv
  54   Bank Of America                    3314 Cicalla
  55   Bank Of America                    3044 Coleman
  56   Bank Of America                    3446 Farmville
  57   Bank Of America                    4069 Knob
  58   Bank Of America                    1149 Merchant



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  59   Bank Of America                     1153 Merchant
  60   Bank Of America                     2467 Yale
       Central Loan Administration &
  61                                       4066 Mountain Terrace
       Reporting
       Central Loan Administration &
  62                                       4072 Mountain Terrace
       Reporting
       Central Loan Administration &
  63                                       4078 Mountain Terrace
       Reporting
       Central Loan Administration &
  64                                       4090 Mountain Terrace
       Reporting
       Central Loan Administration &
  65                                       2514 Redvers
       Reporting

  66   Chase                               424 Carpenter
  67   Chase                               4436 Cedar Bark Cv
  68   Chase                               4445 Cedar Bark Cv
  69   Chase                               4453 Cedar Bark Cv
  70   Chase                               635 Dunlap
  71   Chase                               2414 Durham Dr
  72   Chase                               2422 Durham Dr
  73   Chase                               946 Faxon
  74   Chase                               960 Faxon
  75   Chase                               2583 Hawkins Mill
  76   Chase                               2589 Hawkins Mill
  77   Chase                               2595 Hawkins Mill
  78   Chase                               2603 Hawkins Mill
  79   Chase                               4007 Hofburg
  80   Chase                               4039 Hofburg
  81   Chase                               4541 Janice
  82   Chase                               2453 Knob
  83   Chase                               4045 Knob
  84   Chase                               4053 Knob
  85   Chase                               4057 Knob
  86   Chase                               4141 Leroy
  87   Chase                               4022 McWeeny
  88   Chase                               207 Merton
  89   Chase                               211 Merton
  90   Chase                               4134 Mountain Terrace



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  91    Chase                              4206 Mountain Terrace
  92    Chase                              1172 Panama
  93    Chase                              2455 Rammesses
  94    Chase                              2461 Rammesses
  95    Chase                              2467 Rammesses
  96    Chase                              4005 Rangeline
  97    Chase                              4011 Rangeline
  98    Chase                              1276 Saxon
  99    Chase                              5950 Wagon Hill Rd E
  100   Chase                              5954 Wagon Hill Rd E
  101   Ashley or Mason Bailey             3216-3218 Mountain Terrace
  102   Chase                              5982 Wagon Hill Rd E
  103   Chase                              5986 Wagon Hill Rd E
  104   Chase                              4084 Wagon Wheel Dr
  105   Chase                              4228 Wagon Wheel Dr
  106   Chase                              242 Williford

  107   EMC Payment Processing             4141 Mountain Terrace
  108   EMC Payment Processing             4166 Mountain Terrace
  109   EMC Payment Processing             4183 Mountain Terrace
  110   EMC Payment Processing             4191 Mountain Terrace
  111   EMC Payment Processing             4209 Mountain Terrace
  112   EMC Payment Processing             5948 Wagon Hill Rd E
  113   EMC Payment Processing             5990 Wagon Hill Rd E
  114   EMC Payment Processing             5994 Wagon Hill Rd E
  115   EMC Payment Processing             4205 Wagon Wheel Dr
  116   EMC Payment Processing             4237 Wagon Wheel Dr
  117   EMC Payment Processing             2492 Wellons

  118   Gmac Mortgage                      4207 Beacon Hills Rd
  119   Gmac Mortgage                      3569 Marion Ave
  120   Gmac Mortgage                      1152 Merchant
  121   Gmac Mortgage                      5940 Wagon Hill Rd E
  122   Gmac Mortgage                      5941 Wagon Hill Rd E
  123   Gmac Mortgage                      5945 Wagon Hill Rd E
  124   Gmac Mortgage                      5947 Wagon Hill Rd E
  125   Gmac Mortgage                      5978 Wagon Hill Rd E



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  126   Gmac Mortgage                         5980 Wagon Hill Rd E
  127   Gmac Mortgage                         5987 Wagon Hill Rd E
  128   Gmac Mortgage                         5993 Wagon Hill Rd E

                                              5980 Prairie Cv and 4339 Waverly
  129   Independent Bank
                                              Farms
  130   Independent Bank                      2479 Dana Cove, 2209 Durham,
                                              4167 Mountain Terrace, 1149 National
                                              3360 Farmville, 2505 Hale
                                              3708 Irma, 215 Merton
                                              1616 Oberle, 3067 Pershing, 1438
                                              Weymouth

  131   Insouth Bank                          1131 National and 3678 Fairoaks
  132   Insouth Bank                          4272 Hobson Cv
  133   Insouth Bank                          1525 Roosevelt

  134   Litton Loan Servicing LP              4212 Beacon Hills Rd
  135   Litton Loan Servicing LP              4430 Cedar Bark Cv S
  136   Litton Loan Servicing LP              4433 Cedar Bark Cv S
  137   Litton Loan Servicing LP              4439 Cedar Bark Cv S
  138   Litton Loan Servicing LP              4442 Cedar Bark Cv S
  139   Litton Loan Servicing LP              4448 Cedar Bark Cv S
  140   Litton Loan Servicing LP              4452 Cedar Bark Cv S
  141   Litton Loan Servicing LP              4474 Cedar Bark Cv S
  142   Litton Loan Servicing LP              4588 Longtree
  143   Litton Loan Servicing LP              4589 Longtree
  144   Litton Loan Servicing LP              4234 Wagon Wheel Dr
  145   Litton Loan Servicing LP              2448 Wellons
  146   Litton Loan Servicing LP              2456 Wellons
  147   Litton Loan Servicing LP              2462 Wellons
  148   Michelle Pettigrew                    2391 Hillside
  149   Specialized Loan Servicing, LLC       4147 Mountain Terrace
  150   Urban Trust Bank                      1154 Merchant

  151   Wells Fargo Home Mortgage             4041 Knob
  152   Wells Fargo Home Mortgage             4061 Knob
  153   Wells Fargo Home Mortgage             4065 Knob


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  154    Wells Fargo Home Mortgage                  4073 Knob
  155    Wells Fargo Home Mortgage                  4077 Knob
  156    Wells Fargo Home Mortgage                  4081 Knob


                Class 157 shall consist of Unsecured Nonpriority claims as finally allowed

         by the court that are not otherwise included in any other Class of Claims.

                                            ARTICLE 4.

                       TREATMENT OF CLAIMS AND INTERESTS

         4.1    Class 1 Administrative Claims.

         Allowed Class 1 claims shall be paid in cash on the Effective Date of the Plan.

  Any administrative claims representing liability incurred in the ordinary course of

  business of the Debtor may be paid in cash in the ordinary course of business. Included

  in this class are the attorney and accountant’s fees incurred by the Debtor. Additionally,

  any United States Trustee Quarterly Fees due and owing or assessable prior to

  confirmation shall be paid in full on the Effective Date of the Plan and any post-

  confirmation United States Trustee Fees shall be paid pursuant to 28 U.S.C. Section

  1930(a)(6). Class 1 is deemed to be unimpaired.

         4.2    The Class 2 Claim of the United States Treasury, if any, shall be paid in

  full on the Effective Date of the Plan.

         4.3    The Class 3 Claims of City of Memphis shall be paid by the mortgage

  holder for each respective property from funds held in escrow for this purpose. Those

  properties and the responsible mortgagee include all of those numbered Classes

  described in Article 3 of the Plan that are located in the City of Memphis, with the

  exception of the following Classes: 31, 101, 130, 131 and 132.




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         The following properties identified by the City of Memphis account number and

  address are hereby surrendered to the City of Memphis as lien holder, which may

  proceed with its state law remedies.

                       033012 00014             215 N. Merton
                       043058 00028             3360 Farmville
                       043059 00026             1149 National
                       052026 00063             2479 Dunlap
                       052087 00005             3067 Pershing
                       053070 00069             1438 Weymouth
                       071048 A00003            2209 Durham Dr.
                       072097 00030             3708 Irma
                       033013 00010             2505 Hale
                       070035 00016             1616 Oberle
                       071048 F00231            4167 Mt. Terrace
                       052083 00019             3048 Coleman
                        071048 F00235           0 Mt. Terrace


                The Class 3 Claims of the City of Memphis pertaining to all other

  properties to be retained under the Plan with an outstanding tax liability shall be paid

  over a period of time not to exceed sixty (60) months from the date the petition in this

  case was filed, with annual interest of 12%, in a manner more particularly set out below.

  The City has filed a Proof of Claim in the amount of $32,053.01.

         Notwithstanding any other provisions contained herein, the City of Memphis is

  the holder of a pre-petition claim for ad valorem property taxes for the 2011 and prior

  tax years, as well as an administrative expense claim for the 2012 ad valorem taxes. The

  Debtor shall pay the 2012 taxes timely pursuant to applicable non-bankruptcy law. It is

  not necessary that the City file an administrative expense claim or request for payment in

  order for these 2012 taxes to be deemed an allowed administrative expense. The

  administrative expense taxes are not discharged by entry of the confirmation order. The

  Debtor shall pay the City’s pre-petition claims in equal monthly payments commencing



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  no later than the first day of the first month which is 30 days after entry of the

  confirmation order. Such payments shall be calculated to result in payment in full of the

  tax claims with all applicable and accrued interest no later than the fifth anniversary of

  the petition date. These payments shall include interest from the petition date through

  the Effective Date and from the Effective Date through the date of payment in full at the

  applicable state statutory rate of 1% per month pursuant to 11 U.S.C. §§ 506(b), 511, and

  1129. The City shall retain its liens for pre- and post-petition taxes with the same

  validity, extent and priority until all taxes and related interest, penalties, and fees (if any)

  have been paid in full. In the event of a default under the plan, the City shall send notice

  of default to counsel for the Debtor/Reorganized Debtor via facsimile or electronic mail,

  and the Debtor shall have 15 days from the date of such notice to cure said default. In the

  event of failure to cure the default timely, the City shall be entitled to pursue collection

  of all amounts owed pursuant to applicable nonbankruptcy law without further recourse

  to the Bankruptcy Court. The City shall only be required to send two notices of default;

  upon a third event of default, the City may proceed to collect all amounts owed pursuant

  to applicable nonbankruptcy law without further notice. Failure to pay any post-petition

  ad valorem taxes prior to their becoming delinquent under Tennessee law shall constitute

  an event of default under the Plan.

         4.4     The Class 4 Claims of the Shelby County Trustee shall be paid by the

 mortgage holder for each respective property from funds held in escrow for this purpose.

         The following properties are hereby surrendered as to the Shelby County Trustee

  as lien holder, which may proceed with its state law remedies.




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                                                215 N. Merton
                                                3360 Farmville
                                                1149 National
                                                2479 Dunlap
                                                3067 Pershing
                                                1438 Weymouth
                                                2209 Durham Dr.
                                                3708 Irma
                                                2505 Hale
                                                1616 Oberle
                                                4167 Mt. Terrace
                                                5980 Prairie Cove
                                                4339 Waverly Farms
                                                3048 Coleman


        The lot identified as parcel number 0710480F002350 (0 Mountain Terrace) is

  hereby surrendered to the Shelby County Trustee as lienholder, which may exercise its

  state law remedies thereto.

        a) Pre-petition taxes, and all statutory interest and penalty accruing thereon, if

 any, owed by Debtor to Shelby County for in connection with properties for which taxes

 are escrowed shall be in-full within 30 days of confirmation. Those properties and the

 responsible mortgagee are all of those numbered Classes described in Article 3 of the

 Plan with the exception of the following Classes: 31, 101, 130, 131 and 132.

        b) Pre-petition taxes, and all statutory interest and penalty accruing thereon, owed

 by Debtor to Shelby County for in connection with properties for which taxes are not

 escrowed as of the Effective Date of the Plan, shall be paid in regular cash installments

 over a period ending not later than 60 months from the date the petition in this case was

 filed. Those properties are as follows:

         4132 Mountain Terrace (Class 31)

         3216-3218 Mountain Terrace (Class 101)


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         1131 National (Class 131)

         3678 Fairoaks (Class 131)

         4272 Hobson Cove (Class 132)

         1525 Roosevelt (Class 133)

         1137 National

        c) All future assessed taxes must be paid in full by the delinquency date; Post-

 petition taxes, and all statutory interest and penalty accruing thereon, for tax year 2012

 shall be paid-in-full by the later of the payment due date or within 30 days of

 confirmation.

        d) If any payment described above is not made, as to the parcel(s) for which

 payment(s) are not made Shelby County shall be free to exercise its remedies under state

 law without seeking further relief from this court.

        4.5         The Class 5 Claim of AHMSI (4037 Knob) shall be paid $18,000 as a

 secured claim. This claim will be paid beginning on the Effective Date of the Plan by

 amortizing this amount over 20 years with interest at the rate of 5.25%, with monthly

 payments of principal and interest until the unpaid balance is paid in full.    Creditor shall

 retain its lien on the described real property, and the lien shall be valid and fully

 enforceable to the same validity, extent and priority as existed on the Filing Date. All

 non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.




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    4.6             The Class 6 Claim of AHMSI (2512 LaBonte) shall be paid $20,000 as

 a secured claim. This claim will be paid beginning on the Effective Date of the Plan by

 amortizing this amount over 20 years with interest at the rate of 5.25%, with monthly

 payments of principal and interest until the unpaid balance is paid in full.    Creditor shall

 retain its lien on the described real property, and the lien shall be valid and fully

 enforceable to the same validity, extent and priority as existed on the Filing Date. All

 non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.7             The Class 7 Claim of AHMSI (4056 Mountain Terrace) shall be paid

 $21,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.8             The Class 8 Claim of AHMSI (4060 Mountain Terrace) shall not

 receive any payment under the Plan. The underlying debt for this claim was solely an

 obligation of the Debtor's late wife.




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    4.9             The Class 9 Claim of AHMSI (4084 Mountain Terrace) shall not

 receive any payment under the Plan. The underlying debt for this claim was solely an

 obligation of the Debtor's late wife.

    4.10            The Class 10 Claim of AHMSI (5979 Prairie Cv) shall be paid

 $31,500 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 4.75%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.11            The Class 11 Claim of AHMSI (5957 Wagon Hill Rd E) shall be paid

 $41,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.12            The Class 12 Claim of AHMSI (5958 Wagon Hill Rd E) shall be paid

 $36,000 as a secured claim. This claim will be paid beginning on the Effective Date of




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 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.13            The Class 13 Claim of AHMSI (5962 Wagon Hill Rd E) shall be paid

 $42,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.14            The Class 14 Claim of AHMSI (5964 Wagon Hill Rd E) shall be paid

 $41,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust




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 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.15            The Class 15 Claim of AHMSI (5998 Wagon Hill Rd E) shall be paid

 $41,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.16            The Class 16 Claim of America's Servicing Company (4135 Mountain

 Terrace) shall be paid $20,000 as a secured claim. This claim will be paid beginning on

 the Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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 4.17                The Class 17 Claim of Bank of America (4049 Knob) shall be paid

 $20,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.5%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.18            The collateral securing the Class 18 Claim of America's Servicing

 Company (4436 Suncrest) shall be surrendered and abandoned pursuant to Section 554 of

 the Bankruptcy Code. This Class is deemed to be impaired.

     4.19            The Class 19 Claim of America's Servicing Company (5944 Wagon

 Hill Rd E) shall be $25,000 paid as a secured claim. This claim will be paid beginning on

 the Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.20            The Class 20 Claim of America's Servicing Company (5984 Wagon

 Hill Rd E) shall be paid $33,500 as a secured claim. This claim will be paid beginning on




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 the Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.      Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.21               The Class 21 Claim of America's Servicing Company (5992 Wagon

 Hill Rd E) shall be paid $25,000 as a secured claim. This claim will be paid beginning on

 the Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.      Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.22               The Class 22 Claim of America's Servicing Company (4193 Wagon

 Wheel Dr) shall be paid $20,000 as a secured claim. This claim will be paid beginning

 on the Effective Date of the Plan by amortizing this amount over 20 years with interest at

 the rate of 4%, with monthly payments of principal and interest until the unpaid balance

 is paid in full.     Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note




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 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.23               The Class 23 Claim of America's Servicing Company (4233 Wagon

 Wheel Dr) shall be paid $20,000 as a secured claim. This claim will be paid beginning

 on the Effective Date of the Plan by amortizing this amount over 20 years with interest at

 the rate of 4%, with monthly payments of principal and interest until the unpaid balance

 is paid in full.     Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.24               The Class 24 Claim of America's Servicing Company (2498 Wellons)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.      Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.25               The Class 25 Claim of Aurora Loan Services (1762 Corning) shall be

 paid $19,000 as a secured claim. This claim will be paid beginning on the Effective Date

 of the Plan by amortizing this amount over 20 years with interest at the rate of 4%, with




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 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.26            The Class 26 Claim of Aurora Loan Services (4146 Mountain Terrace)

 shall be paid $21,900 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.27            The Class 27 Claim of Aurora Loan Services (4155 Mountain Terrace)

 shall be paid $22,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4.75%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note




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 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.28            The Class 28 Claim of Aurora Loan Services (4156 Mountain Terrace)

 shall be paid $22,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4.75%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.29            The Class 29 Claim of Aurora Loan Services (4175 Mountain Terrace)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.30            The Class 30 Claim of Aurora Loan Services (1855 Whitney Ave.)

 shall be paid $25,200 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the




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 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.31             The Class 31 Claim of Banco Popular North America (4132 Mountain

 Terrace) shall be paid $20,000 as a secured claim. This claim will be paid beginning on

 the Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.32             The Class 32 Claim of Bancorp South Mortgage (885 Bingham) shall

 be paid $7,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 10 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.33            The Class 33 Claim of Bancorp South Mortgage (4551 Cedargreen

 Cv) shall be paid $36,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.34            The Class 34 Claim of Bancorp South Mortgage (4549 Cedar Leaf Cv)

 shall be paid $37,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.35            The Class 35 Claim of Bancorp South Mortgage (4550 Cedar Leaf Cv)

 shall be paid $37,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the




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 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.36            The Class 36 Claim of Bancorp South Mortgage (4558 Cedar Leaf Cv)

 shall be paid $34,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.37            The Class 37 Claim of Bancorp South Mortgage (3356 Farmville)

 shall be paid $8,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 10 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note




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 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.38            The Class 38 Claim of Bancorp South Mortgage (3370 Farmville)

 shall be paid $5,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 10 years with interest at the

 rate of 5.25%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.39            The Class 39 Claim of Bancorp South Mortgage (4070 Knob) shall be

 paid $18,000 as a secured claim. This claim will be paid beginning on the Effective Date

 of the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%,

 with monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.40            The Class 40 Claim of Bancorp South Mortgage (4545 Longtree) shall

 be paid $32,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of




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 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.41             The Class 41 Claim of Bancorp South Mortgage (4549 Longtree) shall

 be paid $37,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.42             The Class 42 Claim of Bancorp South Mortgage (4555 Longtree) shall

 be paid $37,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.43             The Class 43 Claim of Bancorp South Mortgage (4561 Longtree) shall

 be paid $37,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.44             The Class 44 Claim of Bancorp South Mortgage (4567 Longtree) shall

 be paid $36,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.45             [Reserved]

     4.46             The Class 46 Claim of Bancorp South Mortgage (1730 Marble) shall

 be paid $7,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 10 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.47             The Class 47 Claim of Bancorp South Mortgage (214 Merton) shall be

 paid $40,000 as a secured claim. This claim will be paid beginning on the Effective Date

 of the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%,

 with monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.




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     4.48             [Reserved]

     4.49             The Class 49 Claim of Bancorp South Mortgage (3073 Pershing) shall

 be paid $7,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 10 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

 4.50                 The collateral securing the Class 50 Claim of Bancorp South Bank

 (2529 Selman) shall be surrendered and abandoned pursuant to Section 554 of the

 Bankruptcy Code. This class is deemed to be impaired.

     4.51             The Class 51 Claim of Bancorp South Mortgage (3637 Townes) shall

 be paid $15,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 10 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.52             The Class 52 Claim of Bank of America (4555 Cedar Leaf Cv) shall

 be paid $25,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of 4%,

 with monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.53             The Class 53 Claim of Bank of America (4556 Cedar Leaf Cv) shall

 be paid $34,000 as a secured claim. This claim will be paid beginning on the Effective

 Date of the Plan by amortizing this amount over 20 years with interest at the rate of

 5.25%, with monthly payments of principal and interest until the unpaid balance is paid

 in full.   Creditor shall retain its lien on the described real property, and the lien shall be

 valid and fully enforceable to the same validity, extent and priority as existed on the

 Filing Date. All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.54             The collateral securing the Class 54 Claim of Bank of America (3314

 Cicalla) shall be surrendered and the stay terminated to permit said creditor to foreclose

 and exercise its state law remedies as to that property. This Class is deemed to be

 impaired.




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    4.55            The Class 55 Claim of Bank of America (3044 Coleman) shall be paid

 $8,000 as a secured claim. This claim will be paid beginning on the Effective Date of the

 Plan by amortizing this amount over 20 years with interest at the rate of 4%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.56            The Class 56 Claim of Bank of America (3446 Farmville) shall be paid

 $15,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.5%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.




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    4.57            The Class 57 Claim of Bank of America (4069 Knob) shall be paid

 $20,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.5%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.




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    4.58            The collateral securing the Class 58 Claim of Chase (1149 Merchant)

 shall be surrendered and abandoned pursuant to Section 554 of the Bankruptcy Code.

 This Class is deemed to be impaired.

    4.59            The collateral securing the Class 59 Claim of Bank of America (1153

 Merchant) shall be surrendered and abandoned pursuant to Section 554 of the Bankruptcy

 Code. This Class is deemed to be impaired.

    4.60            The Class 60 Claim of Bank of America (2467 Yale) shall be paid

 $20,000 as a secured claim. This claim will be paid beginning on the Effective Date of

 the Plan by amortizing this amount over 20 years with interest at the rate of 5.25%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.61            The Class 61 Claim of Central Loan Administration & Reporting

 (4066 Mountain Terrace) shall be paid $22,000 as a secured claim. This claim will be

 paid beginning on the Effective Date of the Plan by amortizing this amount over 20 years

 with interest at the rate of 4.75%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain




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 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.62            The Class 62 Claim of Central Loan Administration & Reporting

 (4072 Mountain Terrace) shall be paid $22,000 as a secured claim. This claim will be

 paid beginning on the Effective Date of the Plan by amortizing this amount over 20 years

 with interest at the rate of 4.75%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.63            The Class 63 Claim of Central Loan Administration & Reporting

 (4078 Mountain Terrace) shall be paid $22,000 as a secured claim. This claim will be

 paid beginning on the Effective Date of the Plan by amortizing this amount over 20 years

 with interest at the rate of 4.75%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.




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    4.64            The Class 64 Claim of Central Loan Administration & Reporting

 (4090 Mountain Terrace) shall be paid $22,000 as a secured claim. This claim will be

 paid beginning on the Effective Date of the Plan by amortizing this amount over 20 years

 with interest at the rate of 4.75%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.    Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.65            The Class 65 Claim of Central Loan Administration & Reporting

 (2514 Redvers) shall be paid $20,000 as a secured claim. This claim will be paid

 beginning on the Effective Date of the Plan by amortizing this amount over 20 years with

 interest at the rate of 4%, with monthly payments of principal and interest until the

 unpaid balance is paid in full.     Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.66            The collateral securing the Class 66 Claim of Chase (424 Carpenter)

 shall be surrendered and the automatic stay terminated to permit foreclosure of this

 property.




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    4.67            The Class 67 Claim of Chase (4436 Cedar Bark Cv) shall be paid as a

 fully secured creditor pursuant to its election under Section 1111(b)(2) of the Bankruptcy

 Code to the extent of its allowed claim in the amount of $70,960.92. This claim will be

 paid based on a net present value of $41,500 with a 4% interest rate over 360 months at

 the rate of $198.13 per month beginning on the Effective Date of the Plan.      Creditor

 shall retain its lien on the described real property to the extent of the allowed amount of

 its claim, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. In the event of prepayment of this claim, Creditor

 shall receive a prepayment premium equal to the remainder obtained by subtracting from

 the sum of $70,960.92 the total of all payments theretofore made by the Reorganized

 Debtor, until such time as said remainder is no longer a positive number at which time

 and thereafter this Claim may be prepaid in full or in part with no charge or premium.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.68            The Class 68 Claim of Chase (4445 Cedar Bark Cv) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $74,821.64. This

 claim will be paid based on a net present value of $44,000 with a 4% interest rate over

 360 months at the rate of $210.06 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this




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 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $74,821.64 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.69            The Class 69 Claim of Chase (4453 Cedar Bark Cv) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $72,144.42. This

 claim will be paid based on a net present value of $42,000 with a 4% interest rate over

 360 months at the rate of $200.51 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $72,144.42 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.70            Class 70 (Chase, 635 Dunlap) has elected to be treated in accordance

 with Section 1111(b)(2) of the Bankruptcy Code. In the event that this Class does not

 withdraw this election on or before the conclusion of the Confirmation Hearing, the

 property securing its claim will be abandoned pursuant to Section 554 of the Bankruptcy

 Code effective fourteen (14) days after entry of an Order Confirming the Plan. In the

 event this Class withdraws its Section 1111(b) election in writing before the conclusion

 of the Confirmation Hearing, the claim of this Class shall be treated as follows: The Class

 70 Claim of Chase (635 Dunlap) shall be paid $8,000 as a secured claim. This claim will

 be paid beginning on the Effective Date of the Plan by amortizing this amount over 20

 years with interest at the rate of 4%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.71            The Class 71 Claim of Chase (2414 Durham Dr) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $47,942.67. This

 claim will be paid based on a net present value of $28,000 with a 4% interest rate over

 360 months at the rate of $133.68 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,




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 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $47,942.67 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.72            The Class 72 Claim of Chase (2422 Durham Dr) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $51,405.83. This

 claim will be paid based on a net present value of $30,000 with a 4% interest rate over

 360 months at the rate of $143.22 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $51,405.83 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.73            Class 73 (Chase, 946 Faxon) has elected to be treated in accordance

 with Section 1111(b)(2) of the Bankruptcy Code. In the event that this Class does not

 withdraw this election on or before the conclusion of the Confirmation Hearing, the

 property securing its claim will be abandoned pursuant to Section 554 of the Bankruptcy

 Code effective fourteen (14) days after entry of an Order Confirming the Plan. In the

 event this Class withdraws its Section 1111(b) election in writing before the conclusion

 of the Confirmation Hearing, the claim of this Class shall be treated as follows: The Class

 73 Claim of Chase (946 Faxon) shall be paid $8,000 as a secured claim. This claim will

 be paid beginning on the Effective Date of the Plan by amortizing this amount over 20

 years with interest at the rate of 4%, with monthly payments of principal and interest until

 the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.74            Class 74 (Chase, 960 Faxon) has elected to be treated in accordance

 with Section 1111(b)(2) of the Bankruptcy Code. In the event that this Class does not

 withdraw this election on or before the conclusion of the Confirmation Hearing, the

 property securing its claim will be abandoned pursuant to Section 554 of the Bankruptcy

 Code effective fourteen (14) days after entry of an Order Confirming the Plan. In the

 event this Class withdraws its Section 1111(b) election in writing before the conclusion

 of the Confirmation Hearing, the claim of this Class shall be treated as follows: The




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 Class 74 Claim of Chase (960 Faxon) shall be paid $8,000 as a secured claim. This claim

 will be paid beginning on the Effective Date of the Plan by amortizing this amount over

 20 years with interest at the rate of 4%, with monthly payments of principal and interest

 until the unpaid balance is paid in full.   Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.75            The Class 75 Claim of Chase (2583 Hawkins Mill) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,645.71. This

 claim will be paid based on a net present value of $29,000 with a 4% interest rate over

 360 months at the rate of $138.45 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,645.71 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.76            The Class 76 Claim of Chase (2589 Hawkins Mill) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $47,915.49. This

 claim will be paid based on a net present value of $28,000 with a 4% interest rate over

 360 months at the rate of $133.68 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $47,915.49 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.77            The Class 77 Claim of Chase (2595 Hawkins Mill) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,952.83. This

 claim will be paid based on a net present value of $29,500 with a 4% interest rate over

 360 months at the rate of $140.84 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,952.83 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.78            The Class 78 Claim of Chase (2603 Hawkins Mill) shall be paid shall

 be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $41,917.72. This

 claim will be paid based on a net present value of $25,000 with a 4% interest rate over

 360 months at the rate of $119.35 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $42,200.93 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.79            The Class 79 Claim of Chase (4007 Hofburg) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $40,656.00. This

 claim will be paid based on a net present value of $24,000 with a 4% interest rate over

 360 months at the rate of $114.58 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $40,656.00 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.80            The Class 80 Claim of Chase (4039 Hofburg) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,599.96. This

 claim will be paid based on a net present value of $29,500 with a 4% interest rate over

 360 months at the rate of $140.84 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,599.96 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.81            The Class 81 Claim of Chase (4541 Janice) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $48,900.89. This

 claim will be paid based on a net present value of $28,500 with a 4% interest rate over

 360 months at the rate of $136.06 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $48,900.89 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.82            The Class 82 Claim of Chase (2453 Knob) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,599.96. This

 claim will be paid based on a net present value of $29,000 with a 4% interest rate over

 360 months at the rate of $138.45 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,599.96 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.83            The Class 83 Claim of Chase (4045 Knob) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $46,217.13. This

 claim will be paid based on a net present value of $27,000 with a 4.5% interest rate over

 360 months at the rate of $136.81 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $46,127.13 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.84            The Class 84 Claim of Chase (4053 Knob) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $40,854.36. This

 claim will be paid based on a net present value of $24,000 with a 4% interest rate over

 360 months at the rate of $114.58 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $40,854.36 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.85            The Class 85 Claim of Chase (4057 Knob) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $46,082.42. This

 claim will be paid based on a net present value of $27,000 with a 4% interest rate over

 360 months at the rate of $128.90 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $46,082.42 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.86            The Class 86 Claim of Chase (4141 Leroy) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $34,583.70. This

 claim will be paid based on a net present value of $20,500 with a 4% interest rate over

 360 months at the rate of $97.87 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $34,583.70 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.87            The Class 87 Claim of Chase (4022 McWeeny) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $47,942.67. This

 claim will be paid based on a net present value of $28.000 with a 4% interest rate over

 360 months at the rate of $133.68 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $47,942.67 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.88            The Class 88 Claim of Chase (207 Merton) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $14,179.94. This

 claim will be paid based on a net present value of $10,000 with a 4% interest rate over

 240 months at the rate of $60.60 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $14,179.94 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.89            The Class 89 Claim of Chase (211 Merton) shall be paid shall be paid

 as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $13,992.83. This

 claim will be paid based on a net present value of $10,000 with a 4% interest rate over

 360 months at the rate of $60.60 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $13,992.83 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.90            The Class 90 Claim of Chase (4134 Mountain Terrace) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $52,143.55.

 This claim will be paid based on a net present value of $30,500 with a 4% interest rate

 over 360 months at the rate of $145.61 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $52,143.55 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.91            The Class 91 Claim of Chase (4206 Mountain Terrace) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $49,498.71.

 This claim will be paid based on a net present value of $29,500 with a 4% interest rate

 over 360 months at the rate of $140.84 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of




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 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $49,498.71 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.92            The collateral securing the Class 92 Claim of Chase (1172 Panama)

 shall be surrendered and abandoned pursuant to Section 554 of the Bankruptcy Code.

 This Class is deemed to be impaired.

    4.93            The Class 93 Claim of Chase (2455 Rammesses) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,102.18. This

 claim will be paid based on a net present value of $29,000 with a 4% interest rate over

 360 months at the rate of $138.45 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,102.18 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.94            The Class 94 Claim of Chase (2461 Rammesses) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,467.82. This

 claim will be paid based on a net present value of $29,000 with a 4% interest rate over

 360 months at the rate of $138.45 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,467.82 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.95            The Class 95 Claim of Chase (2467 Rammesses) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $49,599.96. This

 claim will be paid based on a net present value of $29,000 with a 4% interest rate over

 360 months at the rate of $138.45 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed




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 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $49,599.96 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.96            The Class 96 Claim of Chase (4005 Rangeline) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $50,306.80. This

 claim will be paid based on a net present value of $29,500 with a 4% interest rate over

 360 months at the rate of $140.84 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $50,306.80 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.97            The Class 97 Claim of Chase (4011 Rangeline) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $52,191.63. This

 claim will be paid based on a net present value of $30,500 with a 4% interest rate over

 360 months at the rate of $145.61 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $52,191.63 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.98            The collateral securing the Class 98 Claim of Chase (1276 Saxon)

 shall be surrendered and abandoned pursuant to Section 554 of the Bankruptcy Code.

 This Class is deemed to be impaired.

    4.99            The Class 99 Claim of Chase (5950 Wagon Hill Rd E) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $76,300.60.

 This claim will be paid based on a net present value of $44,500 with a 4% interest rate

 over 360 months at the rate of $212.45 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $76,300.60 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.100           The Class 100 Claim of Chase (5954 Wagon Hill Rd E) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $77,906.97.

 This claim will be paid based on a net present value of $45,000 with a 4% interest rate

 over 360 months at the rate of $214.84 per month beginning on the Effective Date of the




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 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $77,906.97 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.101           The Class 101 Claim of Ashley or Mason Bailey (3216-3218

 Mountain Terrace) shall be paid according to the original terms as a secured claim with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All terms and conditions as set forth in the original Note and Deed of Trust executed by

 and between the parties shall remain in full force and effect until the secured claim is paid

 in full. This Class is deemed to be unimpaired.

    4.102           The Class 102 Claim of Chase (5982 Wagon Hill Rd E) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $76,300.60.

 This claim will be paid based on a net present value of $44,500 with a 4% interest rate

 over 360 months at the rate of $212.45 per month beginning on the Effective Date of the




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 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $76,300.60 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.103           The Class 103 Claim of Chase (5986 Wagon Hill Rd E) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $79,158.58.

 This claim will be paid based on a net present value of $46,500 with a 4% interest rate

 over 360 months at the rate of $222.00 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $79,158.58 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.104           The Class 104 Claim of Chase (4084 Wagon Wheel Dr) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $49,599.96.

 This claim will be paid based on a net present value of $29,000 with a 4% interest rate

 over 360 months at the rate of $138.45 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $49,599.96 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.105           The Class 105 Claim of Chase (4228 Wagon Wheel Dr) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $51,452.58.

 This claim will be paid based on a net present value of $30,000 with a 4% interest rate

 over 360 months at the rate of $143.22 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the




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 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $51,452.58 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.106           The Class 106 Claim of Chase (242 Williford) shall be paid shall be

 paid as a fully secured creditor pursuant to its election under Section 1111(b)(2) of the

 Bankruptcy Code to the extent of its allowed claim in the amount of $12,355.72. This

 claim will be paid based on a net present value of $12,000 with a 4% interest rate over

 240 months at the rate of $72.72 per month beginning on the Effective Date of the Plan.

 Creditor shall retain its lien on the described real property to the extent of the allowed

 amount of its claim, and the lien shall be valid and fully enforceable to the same validity,

 extent and priority as existed on the Filing Date. In the event of prepayment of this

 claim, Creditor shall receive a prepayment premium equal to the remainder obtained by

 subtracting from the sum of $12,355.72 the total of all payments theretofore made by the

 Reorganized Debtor, until such time as said remainder is no longer a positive number at

 which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and




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 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.107           The Class 107 Claim of EMC Mortgage (4141 Mountain Terrace)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.108           The Class 108 Claim of EMC Mortgage (4166 Mountain Terrace)

 shall be paid shall be paid as a fully secured creditor pursuant to its election under

 Section 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the

 amount of $53,418.89. This claim will be paid based on a net present value of $31,000

 with a 4% interest rate over 360 months at the rate of $148.00 per month beginning on

 the Effective Date of the Plan.    Creditor shall retain its lien on the described real

 property to the extent of the allowed amount of its claim, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 In the event of prepayment of this claim, Creditor shall receive a prepayment premium

 equal to the remainder obtained by subtracting from the sum of $53,418.89 the total of all

 payments theretofore made by the Reorganized Debtor, until such time as said remainder

 is no longer a positive number at which time and thereafter this Claim may be prepaid in




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 full or in part with no charge or premium.     All non-monetary terms and conditions as

 set forth in the original Note and Deed of Trust executed by and between the parties shall

 remain in full force and effect until the secured claim is paid in full. This Class is

 deemed to be impaired.

    4.109           The Class 109 Claim of EMC Mortgage (4183 Mountain Terrace)

 shall be paid shall be paid as a fully secured creditor pursuant to its election under

 Section 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the

 amount of $53,618.58. This claim will be paid based on a net present value of $31,500

 with a 4% interest rate over 360 months at the rate of $150.39 per month beginning on

 the Effective Date of the Plan.   Creditor shall retain its lien on the described real

 property to the extent of the allowed amount of its claim, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 In the event of prepayment of this claim, Creditor shall receive a prepayment premium

 equal to the remainder obtained by subtracting from the sum of $53,618.58 the total of all

 payments theretofore made by the Reorganized Debtor, until such time as said remainder

 is no longer a positive number at which time and thereafter this Claim may be prepaid in

 full or in part with no charge or premium.     All non-monetary terms and conditions as

 set forth in the original Note and Deed of Trust executed by and between the parties shall

 remain in full force and effect until the secured claim is paid in full. This Class is

 deemed to be impaired.

    4.110           The Class 110 Claim of EMC Mortgage (4191 Mountain Terrace)

 shall be paid shall be paid as a fully secured creditor pursuant to its election under

 Section 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the




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 amount of $51,938.84. This claim will be paid based on a net present value of $30,500

 with a 4% interest rate over 360 months at the rate of $145.61 per month beginning on

 the Effective Date of the Plan.   Creditor shall retain its lien on the described real

 property to the extent of the allowed amount of its claim, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 In the event of prepayment of this claim, Creditor shall receive a prepayment premium

 equal to the remainder obtained by subtracting from the sum of $51,938.84 the total of all

 payments theretofore made by the Reorganized Debtor, until such time as said remainder

 is no longer a positive number at which time and thereafter this Claim may be prepaid in

 full or in part with no charge or premium.     All non-monetary terms and conditions as

 set forth in the original Note and Deed of Trust executed by and between the parties shall

 remain in full force and effect until the secured claim is paid in full. This Class is

 deemed to be impaired.

    4.111           The Class 111 Claim of EMC Mortgage (4209 Mountain Terrace)

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $52,922.80.

 This claim will be paid based on a net present value of $31,000 with a 4% interest rate

 over 360 months at the rate of $148.00 per month beginning on the Effective Date of the

 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $52,922.80 the total of all payments theretofore made by




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 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.     All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

    4.112            The Class 112 Claim of EMC Mortgage (5948 Wagon Hill Rd E) shall

 be paid shall be paid as a fully secured creditor pursuant to its election under Section

 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the amount of

 $73,652.76. This claim will be paid based on a net present value of $43,000 with a 4%

 interest rate over 360 months at the rate of $205.29 per month beginning on the Effective

 Date of the Plan.    Creditor shall retain its lien on the described real property to the

 extent of the allowed amount of its claim, and the lien shall be valid and fully enforceable

 to the same validity, extent and priority as existed on the Filing Date. In the event of

 prepayment of this claim, Creditor shall receive a prepayment premium equal to the

 remainder obtained by subtracting from the sum of $73,652.76 the total of all payments

 theretofore made by the Reorganized Debtor, until such time as said remainder is no

 longer a positive number at which time and thereafter this Claim may be prepaid in full or

 in part with no charge or premium.      All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.




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    4.113            The Class 113 Claim of EMC Mortgage (5990 Wagon Hill Rd E) shall

 be paid shall be paid as a fully secured creditor pursuant to its election under Section

 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the amount of

 $73,652.76. This claim will be paid based on a net present value of $43,000 with a 4%

 interest rate over 360 months at the rate of $205.29 per month beginning on the Effective

 Date of the Plan.    Creditor shall retain its lien on the described real property to the

 extent of the allowed amount of its claim, and the lien shall be valid and fully enforceable

 to the same validity, extent and priority as existed on the Filing Date. In the event of

 prepayment of this claim, Creditor shall receive a prepayment premium equal to the

 remainder obtained by subtracting from the sum of $73,652.76 the total of all payments

 theretofore made by the Reorganized Debtor, until such time as said remainder is no

 longer a positive number at which time and thereafter this Claim may be prepaid in full or

 in part with no charge or premium.      All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.114            The Class 114 Claim of EMC Mortgage (5994 Wagon Hill Rd E) shall

 be paid shall be paid as a fully secured creditor pursuant to its election under Section

 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the amount of

 $73,747.58. This claim will be paid based on a net present value of $43,000 with a 4%

 interest rate over 360 months at the rate of $205.29 per month beginning on the Effective

 Date of the Plan.    Creditor shall retain its lien on the described real property to the

 extent of the allowed amount of its claim, and the lien shall be valid and fully enforceable




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 to the same validity, extent and priority as existed on the Filing Date. In the event of

 prepayment of this claim, Creditor shall receive a prepayment premium equal to the

 remainder obtained by subtracting from the sum of $73,747.58 the total of all payments

 theretofore made by the Reorganized Debtor, until such time as said remainder is no

 longer a positive number at which time and thereafter this Claim may be prepaid in full or

 in part with no charge or premium.      All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.115            The Class 115 Claim of EMC Mortgage (4205 Wagon Wheel Dr) shall

 be paid shall be paid as a fully secured creditor pursuant to its election under Section

 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the amount of

 $51,316.26. This claim will be paid based on a net present value of $30,000 with a 4%

 interest rate over 360 months at the rate of $143.22 per month beginning on the Effective

 Date of the Plan.    Creditor shall retain its lien on the described real property to the

 extent of the allowed amount of its claim, and the lien shall be valid and fully enforceable

 to the same validity, extent and priority as existed on the Filing Date. In the event of

 prepayment of this claim, Creditor shall receive a prepayment premium equal to the

 remainder obtained by subtracting from the sum of $51,316.26 the total of all payments

 theretofore made by the Reorganized Debtor, until such time as said remainder is no

 longer a positive number at which time and thereafter this Claim may be prepaid in full or

 in part with no charge or premium.      All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain




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 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.116            The Class 116 Claim of EMC Mortgage (4237 Wagon Wheel Dr) shall

 be paid shall be paid as a fully secured creditor pursuant to its election under Section

 1111(b)(2) of the Bankruptcy Code to the extent of its allowed claim in the amount of

 $51,870.62. This claim will be paid based on a net present value of $30,500 with a 4%

 interest rate over 360 months at the rate of $145.61 per month beginning on the Effective

 Date of the Plan.    Creditor shall retain its lien on the described real property to the

 extent of the allowed amount of its claim, and the lien shall be valid and fully enforceable

 to the same validity, extent and priority as existed on the Filing Date. In the event of

 prepayment of this claim, Creditor shall receive a prepayment premium equal to the

 remainder obtained by subtracting from the sum of $51,870.62 the total of all payments

 theretofore made by the Reorganized Debtor, until such time as said remainder is no

 longer a positive number at which time and thereafter this Claim may be prepaid in full or

 in part with no charge or premium.      All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.117            The Class 117 Claim of EMC Mortgage (2492 Wellons) shall be paid

 shall be paid as a fully secured creditor pursuant to its election under Section 1111(b)(2)

 of the Bankruptcy Code to the extent of its allowed claim in the amount of $51,316.26.

 This claim will be paid based on a net present value of $30,000 with a 4% interest rate

 over 360 months at the rate of $143.22 per month beginning on the Effective Date of the




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 Plan.   Creditor shall retain its lien on the described real property to the extent of the

 allowed amount of its claim, and the lien shall be valid and fully enforceable to the same

 validity, extent and priority as existed on the Filing Date. In the event of prepayment of

 this claim, Creditor shall receive a prepayment premium equal to the remainder obtained

 by subtracting from the sum of $51,316.26 the total of all payments theretofore made by

 the Reorganized Debtor, until such time as said remainder is no longer a positive number

 at which time and thereafter this Claim may be prepaid in full or in part with no charge or

 premium.        All non-monetary terms and conditions as set forth in the original Note and

 Deed of Trust executed by and between the parties shall remain in full force and effect

 until the secured claim is paid in full. This Class is deemed to be impaired.

     4.118            The Class 118 Claim of GMAC Mortgage (4207 Beacon Hills Rd)

 shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.    Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.119            The Class 119 Claim of GMAC Mortgage (3569 Marion Ave) shall be

 paid $9,000 as a secured claim. This claim will be paid in full on or before the Effective

 Date of the Plan. This Class is deemed to be impaired.




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     4.120           The Class 120 Claim of GMAC Mortgage (1152 Merchant) shall be

 paid $9,000 as a secured claim. This claim will be paid beginning on the Effective Date

 of the Plan by amortizing this amount over 10 years with interest at the rate of 5%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

     4.121           The Class 121 Claim of GMAC Mortgage (5940 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.122           The Class 122 Claim of GMAC Mortgage (5941 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.123           The Class 123 Claim of GMAC Mortgage (5945 Wagon Hill Rd E)

 shall be paid $40,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.124           The Class 124 Claim of GMAC Mortgage (5947 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.125           The Class 125 Claim of GMAC Mortgage (5978 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.126           The Class 126 Claim of GMAC Mortgage (5980 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.127           The Class 127 Claim of GMAC Mortgage (5987 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.128           The Class 128 Claim of GMAC Mortgage (5993 Wagon Hill Rd E)

 shall be paid $38,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.129           The collateral securing the Class 129 Claim of Independent Bank

 (5980 Prairie Cv and 4339 Waverly Farms) shall be surrendered in exchange for a release

 of personal liability on the debt pursuant to an Agreed Order with this creditor. This

 Class is deemed to be unimpaired.

     4.130           The collateral securing the Class 130 Claim of Independent Bank

 (2479 Dana Cove, 2209 Durham, 3360 Farmville, 2505 Hale, 3708 Irma, 215 Merton,

 4167 Mountain Terrace, 1149 National, 1616 Oberle, 3067 Pershing, 1438 Weymouth)

 shall be surrendered in exchange for a release of personal liability on the debt pursuant to

 an Agreed Order with this creditor. This Class is deemed to be unimpaired.




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     4.131           The collateral securing the Class 131 Claim of InSouth Bank (3678

 Fairoaks and 1131 National) shall be surrendered pursuant to an Agreed Order with this

 creditor. This Class is deemed to be impaired.

     4.132           The collateral securing the Class 132 Claim of InSouth Bank (4272

 Hobson Cv) shall be surrendered pursuant to an Agreed Order with this creditor. This

 Class is deemed to be impaired.

     4.133           The collateral securing the Class 133 Claim of InSouth Bank (1525

 Roosevelt) shall be surrendered pursuant to an Agreed Order with this creditor. This

 Class is deemed to be impaired.

     4.134           The Class 134 Claim of Litton Loan Servicing LP (4212 Beacon Hills

 Rd) shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.135           The Class 135 Claim of Litton Loan Servicing LP (4430 Cedar Bark

 Cv S) shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.136           The Class 136 Claim of Litton Loan Servicing LP (4433 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.137           The Class 137 Claim of Litton Loan Servicing LP (4439 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.138           The Class 138 Claim of Litton Loan Servicing LP (4442 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.139           The Class 139 Claim of Litton Loan Servicing LP (4448 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.140           The Class 140 Claim of Litton Loan Servicing LP (4452 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.141           The Class 141 Claim of Litton Loan Servicing LP (4474 Cedar Bark

 Cv S) shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.142           The Class 142 Claim of Litton Loan Servicing LP (4588 Longtree)

 shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.143              The Class 143 Claim of Litton Loan Servicing LP (4589 Longtree)

 shall be paid $25,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.      Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.144              The Class 144 Claim of Litton Loan Servicing LP (4234 Wagon

 Wheel Dr) shall be paid $20,000 as a secured claim. This claim will be paid beginning

 on the Effective Date of the Plan by amortizing this amount over 20 years with interest at

 the rate of 4%, with monthly payments of principal and interest until the unpaid balance

 is paid in full.     Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.145              The Class 145 Claim of Litton Loan Servicing LP (2448 Wellons)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.      Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.146           The Class 146 Claim of Litton Loan Servicing LP (2456 Wellons)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.147           The Class 147 Claim of Litton Loan Servicing LP (2462 Wellons)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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    4.148           The Class 148 Claim of Michelle Pettigrew (2391 Hillside) shall be

 paid $19,000 as a secured claim. This claim will be paid beginning on the Effective Date

 of the Plan by amortizing this amount over 20 years with interest at the rate of 4%, with

 monthly payments of principal and interest until the unpaid balance is paid in full.

 Creditor shall retain its lien on the described real property, and the lien shall be valid and

 fully enforceable to the same validity, extent and priority as existed on the Filing Date.

 All non-monetary terms and conditions as set forth in the original Note and Deed of Trust

 executed by and between the parties shall remain in full force and effect until the secured

 claim is paid in full. This Class is deemed to be impaired.

    4.149           The Class 149 Claim of Specialized Loan Servicing, LLC (4147

 Mountain Terrace) shall be paid $20,000 as a secured claim. This claim will be paid

 beginning on the Effective Date of the Plan by amortizing this amount over 20 years with

 interest at the rate of 4%, with monthly payments of principal and interest until the

 unpaid balance is paid in full.     Creditor shall retain its lien on the described real

 property, and the lien shall be valid and fully enforceable to the same validity, extent and

 priority as existed on the Filing Date. All non-monetary terms and conditions as set forth

 in the original Note and Deed of Trust executed by and between the parties shall remain

 in full force and effect until the secured claim is paid in full. This Class is deemed to be

 impaired.

    4.150           The Class 150 Claim of Urban Trust Bank (1154 Merchant – Duplex-

 A2) shall be paid $7,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 10 years with interest at the

 rate of 4.75%, with monthly payments of principal and interest until the unpaid balance is




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 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.151           The Class 151 Claim of Wells Fargo Home Mortgage (4041 Knob)

 shall be paid $25,200 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.152           The Class 152 Claim of Wells Fargo Home Mortgage (4061 Knob)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 5%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.




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     4.153           The Class 153 Claim of Wells Fargo Home Mortgage (4065 Knob)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.154           The Class 154 Claim of Wells Fargo Home Mortgage (4073 Knob)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.155           The Class 155 Claim of Wells Fargo Home Mortgage (4077 Knob)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien




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 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

     4.156           The Class 156 Claim of Wells Fargo Home Mortgage (4081 Knob)

 shall be paid $20,000 as a secured claim. This claim will be paid beginning on the

 Effective Date of the Plan by amortizing this amount over 20 years with interest at the

 rate of 4%, with monthly payments of principal and interest until the unpaid balance is

 paid in full.   Creditor shall retain its lien on the described real property, and the lien

 shall be valid and fully enforceable to the same validity, extent and priority as existed on

 the Filing Date. All non-monetary terms and conditions as set forth in the original Note

 and Deed of Trust executed by and between the parties shall remain in full force and

 effect until the secured claim is paid in full. This Class is deemed to be impaired.

         4.157 Each Class 157 claimant shall be paid a pro rata share of $320,000, each

 share not to exceed the allowed amount of the claim, no later than sixty (60) months after

 the Effective Date of the Plan. This Class is deemed to be impaired.

         4.158 Fees owed to the United States Trustee shall be paid on or before the

  Effective Date of the Plan.

         4.159 Debtor, as the proponents of the Plan, hereby request pursuant to §

 1129(b) of the Code that the Court find that the provisions of the Plan provide for fair and

 equitable treatment of those creditors whose claims are impaired by the Plan and who

 may elect not the accept the Plan, and that the Court confirm the Plan notwithstanding the

 requirements of §1129(a)(8) of the Code as to such creditors.




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                                         ARTICLE 5.

                          EXECUTION AND EFFECT OF THE PLAN

          5.1    The Debtor will make payments under the Plan with funds generated from

  rents and the operation of his businesses.

          5.2    Claimants shall provide Debtor's counsel with any change of address;

  otherwise, the Debtor-in-possession shall be entitled to rely upon a Claimant’s last

  address as reflected in the records of the Debtor and the Bankruptcy Court Clerk.

  Unclaimed funds shall be treated in accordance with section 347(a) of the Bankruptcy

  Code.

          5.3    The Debtor will retain all property of the Estate, except property that is to

  be otherwise disposed of as provided in the Plan and executory contracts that are rejected

  pursuant to the Plan.

          5.4    On the Effective Date, all property of the Estate shall revest in the Debtor

  free and clear of all claims, liens, encumbrances, and other interests of Creditors or

  Interest Holders, except as otherwise set forth in the Plan, the Confirmation Order or

  other Order.

          5.5    After confirmation of the Plan, Debtor shall apply to the Court for a

  Discharge pursuant to § 1141 of the Code, which shall provide that all persons or entities

  who have held, currently hold, or may hold a debt or claim discharged pursuant to the

  Plan will be permanently enjoined from taking any of the following actions on account

  of any such discharged debt or claim: (1) commencing or continuing in any manner any

  action or other proceeding against the Debtor or his property; (2) enforcing, attaching,




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  collecting, or recovering in any manner any judgment, award, decree, or order against

  Debtor or his property; (3) creating, perfecting, or enforcing any lien or encumbrance

  against Debtor or his property; (4) asserting any setoff, right of subrogation or

  recoupment of any kind against any obligation due to Debtor or his property; (5)

  commencing or continuing any action, in any manner, in any place that does not comply

  with or is inconsistent with the provisions of the Plan or the Confirmation Order.

         5.7     No attorney fees or other fees of “professionals,” as that term is defined in

  §327 of the Code, default interest, late penalties or any similar charge claimed by a

  creditor shall be compensable by Debtor, nor shall the same constitute part of an allowed

  claim, until the creditor seeking to recover said fees penalties or charges has had them

  approved by the Bankruptcy Court, except as otherwise stated in the Plan. All

  applications for approval of said fees, penalties or charges must be filed within thirty

  (30) days after the effective date of the Plan.

         5.8     Notwithstanding any other provisions of the Plan, no payments or

  distributions shall be made on account of any Disputed Claim until such Claim becomes

  an allowed claim, and then only to the extent of the Allowed Amount of such claim.

                                          ARTICLE 6.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         6.1     Rejection. Upon entry of the Confirmation Order, the Debtor shall be

  deemed to have rejected all unexpired leases and executory contracts in which he is a

  lessee entered into prior to the Petition Date unless specifically assumed in this Plan or

  pursuant to Bankruptcy Court Order.




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         6.2     Rejection Claims. All Claims arising from the rejection of unexpired

  leases or other executory contracts that have not previously been rejected by prior Order

  of the Court shall be filed not later than thirty (30) days after the entry of the

  Confirmation Order. All such Claims, to the extent allowed, shall be treated as Class 4

  claims.

         6.3     Any and all leases in which the Debtor is the lessor shall be assumed

  under the Plan.

                                          ARTICLE 7.

                                  MODIFICATION OF PLAN

         7.1     Modifications to this Plan may be proposed in writing by the Debtor at

  any time before of after Confirmation, provided that this Plan, as modified, meets the

  requirements of Section 1129 of the Bankruptcy Code.



                                          ARTICLE 8.

                                RETENTION OF JURISDICTION

         8.1     The Bankruptcy Court shall retain exclusive jurisdiction over the Debtor’s

  Chapter 11 after the Confirmation Date for the purpose of determining all disputes and

  other issues presented by or arising under this Plan, including, without limitation,

  exclusive jurisdiction to:

                 8.1.1   determine any and all objections to the allowances of Claims or

  Equity Interests;

                 8.1.2   determine any and all disputes arising under or relating to the Plan;




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                8.1.3   determine any and all applications for allowance of compensation

  and reimbursement of expenses arising out of or relating to the case or any claims;

                8.1.4   determine any applications, adversary proceedings, and contested

                        matters arising in the Chapter 11 case;

                8.1.5   enter an Order granting a Discharge.

                                        ARTICLE 9.

                                          NOTICES

         9.1    All communications and notices relative to this Plan shall be in writing,

  and may be delivered by hand, facsimile, or by nationally recognized overnight courier

  service and shall be deemed to have been given on business day after being so

  transmitted. If mailed by first class mail, postage paid, all such communications and

  notices shall be deemed given five days after so mailed. If to the Debtor, to:

                                     Russell W. Savory
                           Gotten, Wilson, Savory & Beard, PLLC
                                88 Union Avenue, 14th Floor
                                    Memphis, TN 38103




                                               Respectfully submitted,

                                               GOTTEN, WILSON, SAVORY & BEARD, PLLC

                                               /s/ Russell W. Savory

                                               Russell W. Savory (12786)
                                               Attorney for Arnold R. Dormer, Jr.
                                               88 Union Avenue, 14th Floor
                                               Memphis, TN 38103
                                               901-523-1110
                                               901-523-1139 (Fax)




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                              CERTIFICATE OF SERVICE


         I, Russell W. Savory, do hereby certify that a true and genuine copy of the
  foregoing Second Amended Plan has been served on the following parties by electronic
  notice this 30th Day of July, 2012:

  Jeremiah McGuire, Esq.
  555 Perkins Road Extended, Second Floor
  Memphis, TN 38117

  Joel Giddens
  Attorney at Law
  5050 Poplar Avenue, Suite 115
  Memphis, TN 38157

  Robert J. Wilkinson
  3525 Piedmont Road, NE, Suite 700
  Atlanta, GA 30305

  Laura A. Grifka
  1587 Northeast Expressway
  Atlanta, GA 30329

  Elizabeth Weller
  2323 Bryan Street, Suite 1600
  Dallas, TX 75201

  Elijah Noel
  One Commerce Square, Suite 2700
  Memphis, TN 38103

  Valerie Ann Spicer
  243 Adams Avenue
  Memphis, TN 38103


  United States Trustee


                                            /s/ Russell W. Savory
                                            ____________________________________
                                            Russell W. Savory




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